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                                              PLAINTIFF'S EXHIBIT 1




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1                    IN THE UNITED STATES DISTRICT COURT
2                       FOR THE DISTRICT OF MARYLAND
3      ROSS ROLEY,                              :
4                                 Plaintiffs,:
5          v.                                   : Case No.:
6      NATIONAL PROFESSIONAL                    : 8:18-cv-00152-TDC
7      EXCHANGE, INC., et al.,                  :
8                                 Defendants.:
9                                   -----------
10       Deposition of NATIONAL PROFESSIONAL EXCHANGE, INC.,
11           By and through its Designated Representative,
12                             SHARON JEAN BELL,
13                              and Individually
14                             Baltimore, Maryland
15                      Thursday, September 12, 2019
16                                  10:43 a.m.
17
18
19
20     Job No.:      259802
21     Pages:     1 - 67
22     Reported By:       Dawn M. Hart, RPR/RMR/CRR




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            Transcript of Sharon Jean Bell, Designated Representative and Individually
                                Conducted on September 12, 2019                        2


1             Deposition of National Professional Exchange,
2      Inc., by and through its Designated Representative,
3      Sharon Jean Bell, and individually, held at the
4      law offices of:
5
6                     FERGUSON, SCHETELICH & BALLEW, P.A.
7                     100 South Charles Street
8                     Suite 1401
9                     Bank of America Center
10                    Baltimore, Maryland 21201-2725
11                    (410) 837-2200
12
13
14
15
16
17
18                    Pursuant to Notice, before Dawn M. Hart,
19     RPR/RMR/CRR and Notary Public in and for the State of
20     Maryland.
21
22


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            Transcript of Sharon Jean Bell, Designated Representative and Individually
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1                        A P P E A R A N C E S
2      ON BEHALF OF THE PLAINTIFF:
3             MATTHEW KREISER, ESQUIRE
4             JOSEPH, GREENWALD & LAAKE, PA
5             6404 Ivy Lane
6             Suite 400
7             Greenbelt, Maryland 20770
8             (301) 220-2200
9
10     ON BEHALF OF THE DEFENDANTS:
11            CRAIG F. BALLEW, ESQUIRE
12            FERGUSON, SCHETELICH & BALLEW, P.A.
13            100 South Charles Street
14            Suite 1401
15            Bank of America Center
16            Baltimore, Maryland 21201-2725
17            (410) 837-2200
18
19
20
21
22


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2      EXAMINATION OF SHARON JEAN BELL                                                PAGE
3             By Mr. Kreiser                                                               6
4             By Mr. Ballew                                                            58
5             By Mr. Kreiser                                                           62
6             By Mr. Ballew                                                            63
7             By Mr. Kreiser                                                           63
8
9                                    E X H I B I T S
10              (Exhibits are attached to the transcript.)
11     NPX DEPOSITION EXHIBITS                                                        PAGE
12       Exhibit 1         Amended Notice of Deposition re                             10
13                         NPX
14       Exhibit 2         NPX Employee Handbook                                       30
15       Exhibit 3         Assignment Agreement re Roley                               33
16                         12/1/12 through 11/30/14
17       Exhibit 4         Assignment Agreement re Roley                               45
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20                         12/1/15 through 11/30/16
21       Exhibit 6         NPX Responses to Roley's Requests                           53
22                         for Admissions


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1                         E X H I B I T S            (Continued)
2              (Exhibits are attached to the transcript.)
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4       Exhibit 7         NPX Answers to Roley's First Set                            55
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           Transcript of Sharon Jean Bell, Designated Representative and Individually
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1                               P R O C E E D I N G S
2                                   SHARON JEAN BELL
3                    being first duly sworn or affirmed to
4      testify to the truth, the whole truth, and nothing but
5      the truth, was examined and testified as follows:
6                EXAMINATION BY COUNSEL FOR THE PLAINTIFF
7      BY MR. KREISER:
8            Q       Good morning.
9                    Could you please state your full legal name
10     for the record?
11           A       Sharon Jean Bell.
12           Q       Ms. Bell, my name is Matt Kreiser.                       I
13     represent Plaintiff Ross Roley in his action against
14     National Professional Exchange, Incorporated, and
15     yourself in your individual capacity.                       I'm going to
16     ask you a series of questions related to the claims at
17     issue in this case.
18                   Because this deposition is being
19     transcribed, I ask that you please refrain from
20     nodding your head yes or shaking your head no.
21                   Additionally, I'll try to allow you to
22     finish your answer to my question before asking you


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           Transcript of Sharon Jean Bell, Designated Representative and Individually
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1      another question.            This is so we have a clear
2      transcript.
3                    Is that agreeable?
4            A       Yes.
5            Q       Okay.      If you do not understand my question,
6      ask me to repeat it or rephrase it, and I'll try to
7      repeat and/or rephrase the question.                       But if you
8      answer my question, I'm going to assume that you
9      understood the question.
10                   Is that okay?
11           A       Yes.
12           Q       And if you need to take a break, just let me
13     know, but if we have a question pending, I'm going to
14     ask that you answer it before we take a break.
15                   Is that okay?
16           A       Yes.
17           Q       Okay.      I take it by your responses you
18     understand and speak the English language and you
19     understand what I'm saying?
20           A       Yes, I speak English.
21           Q       Okay.      Thought so.
22                   Do you have any questions before we begin?


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           Transcript of Sharon Jean Bell, Designated Representative and Individually
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1            A       No, I do not.
2            Q       Okay.      You understand that you are
3      testifying here today on behalf of National
4      Professional Exchange Corporation in its capacity as
5      its corporate designee?
6            A       Yes.
7            Q       Okay.      And you understand that you will also
8      be testifying in your own individual capacity today on
9      certain matters?
10           A       Yes.
11           Q       Okay.      And counsel sitting next to you
12     represents both National Professional Exchange
13     Corporation, which I'm going to refer to "NPX."                             It's
14     a -- save me the time.
15                   Is that okay?
16           A       Yes.
17           Q       Okay.      He represents both NPX and yourself
18     in this matter, correct?
19           A       Yes.
20           Q       Okay.      And you understand that your answers
21     as the designee of NPX will be based not only on your
22     personal knowledge, but also based upon all the


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           Transcript of Sharon Jean Bell, Designated Representative and Individually
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1      information that is known or reasonably available to
2      be known by NPX.
3                    Do you understand?
4            A       Yes.
5            Q       Are you presently on any medications that
6      could affect your testimony here today?
7            A       Well, I am on a lot of medications, but I do
8      not think that it will affect my testimony.
9            Q       Okay.      So you don't have any reason to
10     believe that any testimony you've given here -- have
11     given or will give here today will be affected one way
12     or the other by the medications?
13           A       No.
14           Q       Okay, excellent.
15                   And you understand as the designee for NPX
16     your answers here today will be binding upon the
17     corporation?
18           A       Yes.
19           Q       Okay.      Did you review any documents in
20     preparation for your deposition?
21           A       Yes.
22           Q       Okay.      Which documents?


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           Transcript of Sharon Jean Bell, Designated Representative and Individually
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1            A       I went over corporate documents.                      Basically,
2      what you have.          The documents of the company, that you
3      had requested.
4            Q       Okay.      So the documents you reviewed were
5      the ones produced to us during discovery; is that
6      correct?
7            A       Correct.
8            Q       Did you speak with anybody today regarding
9      your testimony other than your attorney?
10           A       No, sir.
11           Q       As we go along, if you need to refer to a
12     document, let me know, and we'll have it entered into
13     the record and then have you review the document if
14     you need to review it, okay?
15           A       Okay.
16                   (NPX Exhibit 1 was marked for identification
17     and is attached to the transcript.)
18           Q       What I've handed you has been marked NPX
19     Exhibit 1 for identification.
20                   Have you seen this document before?
21           A       Yes.
22           Q       Okay.      What is it?


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           Transcript of Sharon Jean Bell, Designated Representative and Individually
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1            A       This would be -- this is a Notice Deposition
2      of me being the corporate designee.
3            Q       Okay.      And have you read it before today?
4            A       Yes.
5            Q       And are you prepared to give testimony today
6      about each of the topics identified in this Notice?
7            A       Yes.
8            Q       Okay.      Now, outside of yourself, is there
9      anybody that would know or have more information
10     regarding any of the topics identified in the Notice?
11           A       Not that I'm aware of.
12           Q       Okay.      What's your educational background?
13           A       I have a degree in accounting, an
14     associate's degree in accounting.
15           Q       Okay.      Where did you receive your
16     associate's?
17           A       Bryant & Stratton.
18           Q       Okay.      When did you receive that Associate's
19     Degree?
20           A       I don't even remember.                '86, '87, '88.            I
21     don't know, so many years ago.
22           Q       It was a while ago?


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           Transcript of Sharon Jean Bell, Designated Representative and Individually
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1            A       Yeah, yeah.          Just irrelevant to me, really,
2      I mean.      So no, I don't even recall the date.
3            Q       Do you have any other degrees or
4      certifications of any sort?
5            A       No other degrees.             I mean, certifications,
6      I've done, you know, certs in this and that.
7            Q       What are some of the certifications you've
8      done?
9            A       I mean, I think like maybe a Microsoft.                          I
10     might have taken a Microsoft.                   I've taken maybe a
11     class for government contracting, just to -- I don't
12     recall the names of the classes, just different
13     classes you can get certifications for.
14           Q       Did you receive any other certifications
15     outside of your associate's in accounting or --
16           A       No.
17           Q       Any other kind of financial course did you
18     take?
19           A       No.
20           Q       So like no certifications as a tax preparer
21     or anything like that?
22           A       Oh, at one time, maybe.                 I think when I was


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           Transcript of Sharon Jean Bell, Designated Representative and Individually
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1      18 I was certified to do taxes.
2            Q       So was I.
3            A       I do recall that.
4            Q       Okay.      So testifying as NPX's designee, what
5      was your title at NPX?
6            A       I was the Managing Director for NPX.
7            Q       Okay.      What were your job duties as the
8      Managing Director?
9            A       I oversaw the office staff, the day-to-day
10     operations.        I worked with Department of Defense in
11     coordinating the IPA agreements.
12           Q       So you worked with the Government agencies
13     in coordinating the IPAs and individuals from NPX to
14     be assigned to those respective Federal agencies?
15           A       No.     The agency would contact me and -- for
16     example, if the agency -- PACOM contacted me and said
17     I would like to hire Ross Roley.
18           Q       Okay.      We'll get a little more into that.
19           A       Yeah.      So it's reverse of what you said.
20           Q       Okay.      So -- but in your capacity, you
21     worked with the Federal agencies for the IPA
22     agreements?


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           Transcript of Sharon Jean Bell, Designated Representative and Individually
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1            A       I worked with the Federal agencies, yes.
2            Q       On behalf of NPX?
3            A       On behalf of NPX.
4            Q       Okay.      What type of business does NPX
5      operate?
6            A       NPX is a not for profit.
7            Q       So it's a 501(c)(3) under the IRS code?
8            A       501(c)(6).
9            Q       501(c)(6), okay.
10                   So just generally, what is NPX's operation,
11     what's its business?
12           A       Basically, it's a think tank.                    You have a
13     think tank of experts and the members, which the
14     members would be the contractors, you know, the
15     contractors always want to know what the IPAs are
16     doing.
17           Q       Okay.      So what's -- can you go into a little
18     bit more about who a member is?
19           A       A member might be BAE, might be SCRA, might
20     be Booz Allen.          It could be any one of the Government
21     contractors who are working with DOD.                       I haven't --
22     honestly, I cannot recall the list of members.                            We had


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           Transcript of Sharon Jean Bell, Designated Representative and Individually
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1      a very small member; we were trying to grow it.                             It
2      really was not one of my main focuses.
3                    On our website you could sign up for
4      membership.        A lot of Government contractors would
5      sign up for membership.
6            Q       So membership with NPX --
7            A       Uh-huh.
8            Q       -- as a member organization?
9            A       Yes.
10           Q       Okay.      So how does this work?                Explain to
11     me, or educate me, so to speak, how does it work
12     between the IPAs, the member organizations and
13     Government entities as far as personnel going to these
14     Government entities.
15           A       As an IPA going into a Government entity?
16           Q       Uh-huh.
17           A       The Government entity would have a need, it
18     would be something -- it would have to be something
19     unusual.      It couldn't be something like my skill set I
20     don't qualify, you don't qualify, million to one
21     everybody has our skill set.                  It has to be a skill set
22     that is uncommon to even qualify to be an IPA, first


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           Transcript of Sharon Jean Bell, Designated Representative and Individually
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1      of all.      So to get into the program.
2                    So the Government would have a need, and
3      they would outsource -- they would find the
4      individual, so whatever their need was, they would
5      find an individual.
6                    Now they need to hire the individual, but
7      they can't hire this individual in typical manner.
8      It's a short-term assignment.                   It's typically not to
9      last any more than six years.                   Usually they go on
10     two-year assignments at a time.                    And you cannot be on
11     the same assignment any more than six years.
12           Q       So the person that's assigned under an IPA
13     agreement does not become the employee of that Federal
14     agency, correct?
15           A       They go on detail to that Federal agency.
16           Q       Okay.      And when we reference "IPA," we're
17     talking about the Interpersonnel Governmental --
18     Interpersonnel -- I'm sorry, Intergovernmental
19     Personnel Act, correct?
20           A       Correct.
21           Q       Is NPX an entity or agency of the State --
22     of any state or Federal Government?


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           Transcript of Sharon Jean Bell, Designated Representative and Individually
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1            A       We are considered "Other."
2            Q       Okay.
3            A       "Other."        If you look at the regulations
4      under the IPA, you have Federal, State, Other.                            We are
5      "Other."      Tribal -- Indian tribes is another "Other."
6            Q       So you're not like an arm of the State of
7      Maryland?
8            A       No, we are not.
9            Q       Okay.      And in what state is NPX
10     incorporated?
11           A       Nevada.
12           Q       Why was Nevada chosen?
13           A       That would be a John Harris question.                         He is
14     the one who -- he always liked to use Nevada.                            I guess
15     easy for him to do paperwork.
16           Q       Who's John Harris?
17           A       He was the -- I think he was the original
18     Treasurer.       But he -- he's the one who filed all the
19     paperwork.
20           Q       Do you remember what year NPX was
21     incorporated in Nevada?
22           A       Let me think for a second.                   2006, maybe.


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           Transcript of Sharon Jean Bell, Designated Representative and Individually
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1      2004 -- I don't know.
2             Q      Would it be fair to say on or around about
3      15 years ago?
4             A      Yes.
5             Q      Have you been with NPX since its inception?
6             A      Yes.      Actually, it would have been 2006,
7      yes.
8             Q      But you have been with NPX since its
9      inception?
10            A      Yes.      I actually -- well, about six, seven
11     months after I started in January.
12            Q      Okay.
13            A      I think they incorporated around -- it was
14     like around June I had been talking with them, but I
15     was not hired as an employee until January of -- I
16     guess it would have been 2007.
17            Q      And you were hired as the Managing Director?
18            A      Yes.
19            Q      Okay.      Has NPX been licensed to do business
20     in states other than Nevada?
21            A      Yes.
22            Q      What states?


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           Transcript of Sharon Jean Bell, Designated Representative and Individually
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1            A       Well, I can try to remember all of them.
2      Let's see.       Kansas, Missouri, Georgia, Florida,
3      Virginia, Maryland, Pennsylvania, Colorado, Hawaii,
4      and I believe California.                Alabama.
5            Q       In between 2011 and 2016, was NPX licensed
6      to do business in the State of Maryland?
7            A       Yes.
8            Q       Is NPX still licensed to do business in the
9      State of Maryland?
10           A       No, NPX has wound -- no, NPX is closed.
11           Q       Okay.
12           A       Well, we're in -- we're processing closing.
13     We're still in the process of closing down.
14           Q       You're in the process of winding down the
15     business?
16           A       We do no business.
17           Q       You're in the process of winding down the
18     business?
19           A       Yes.
20           Q       When did that process start?
21                   MR. BALLEW:          The winding down?
22                   MR. KREISER:          Yes, thank you.


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           Transcript of Sharon Jean Bell, Designated Representative and Individually
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1            A       Well, our last contract ended -- I want to
2      say it was in 20 -- 2018.
3            Q       When you say "the last contract," that was
4      for assignment to a Federal agency?
5            A       That would have been an assignment.
6            Q       Okay.      Why did NPX decide to begin winding
7      down the business?
8            A       Well, first -- well, we lost our TRADOC
9      IPAs.
10           Q       I'm sorry, what was that?
11           A       TRADOC.        It was an Army -- it was a large
12     section of our business.                The TRADOC was a large
13     section of our business.                We had a lot of agreements
14     there.     We lost that.           And I wanted to pursue other
15     avenues as well.           So it was either, well, if the
16     company wanted to continue, someone else would have to
17     run it.
18                   And Marvin Fairclough, who was the other
19     director -- well, not director -- but other officer,
20     did not want to run it either, so we chose to start
21     closing the business down.
22           Q       Would it be fair to say in your role as the


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           Transcript of Sharon Jean Bell, Designated Representative and Individually
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1      Managing Director you're responsible for the
2      day-to-day operations of NPX?
3            A       In Maryland, in my day -- in my office, yes.
4            Q       How many locations or offices does NPX have?
5            A       When you -- I don't understand your
6      question.
7            Q       So does NPX, or during its existence, when
8      it was operating, did it have an office or office
9      building?
10           A       Yes.
11           Q       Okay.      Where was its offices located?
12           A       Our first office would have been -- I don't
13     remember the exact address; it was either California
14     or Hollywood, Maryland.               And then we moved another
15     location in Hollywood, Maryland, for five years.                              We
16     were there for about five years.
17                   And it was right around that time, the end
18     of the fifth year, is when we lost the TRADOC IPAs,
19     which was significant, so it was like that really hurt
20     the rent.
21                   So what we chose to do -- at that time, we
22     had to downsize our operations -- well, I worked out


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           Transcript of Sharon Jean Bell, Designated Representative and Individually
                               Conducted on September 12, 2019                        22


1      of my house after that.
2            Q       So there was a physical location for NPX --
3            A       Absolutely.
4            Q       -- in Maryland.
5                    Do you know when NPX had its physical
6      location in Maryland?              For what dates?
7            A       Yes.      It would have been from the
8      original -- when it originally started, which would
9      have been 2006, up until -- well, you mean until it
10     went to my house -- I guess that's what --
11           Q       Yes.      Physical location.
12           A       I actually had an office at my house, too.
13           Q       Okay.
14           A       So a separate office.                It wasn't like, you
15     know, any clients could come to my house.
16           Q       Well, let's keep it to an office location
17     where clients could come to.
18                   And as you stated -- previously testified,
19     there was a location for a separate office for where
20     clients could come to in the State of Maryland,
21     correct?
22           A       Yes.


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           Transcript of Sharon Jean Bell, Designated Representative and Individually
                               Conducted on September 12, 2019                        23


1            Q       So when did NPX have that location?
2            A       We had several locations.                  I will tell you
3      the last location that we had before moving to Chaffey
4      Court, which is my office home, it would have been
5      around the end of -- I want to say '13 is when that
6      lease expired.
7            Q       Okay.      So at the end of 2013 --
8            A       I'm thinking.
9            Q       -- the office for NPX in Maryland was
10     your -- at your personal residence?
11           A       No, it would have been before that.                        It was
12     before that.
13           Q       Okay.      So before 2013?
14           A       Yeah.
15           Q       Okay.      So --
16           A       I mean, I would have --
17           Q       Let me ask --
18           A       I don't know the exact dates on that.                         I'd
19     have to go look and see when that lease expired.
20                   We had a five-year lease in Hollywood, and
21     the lease before that -- I think we had a three-year
22     lease before that at a different address.


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           Transcript of Sharon Jean Bell, Designated Representative and Individually
                               Conducted on September 12, 2019                        24


1            Q       Okay.      So in 2011 did NPX have the office on
2      lease in Hollywood, Maryland?
3            A       I believe so.
4            Q       What about 2012?
5            A       Honestly, I'm not sure.                 It would have been
6      around that time frame.               I know there was a lot going
7      on with TRADOC around that time frame.                        I'm not
8      exactly sure of the exact move date.
9            Q       So it would be fair to say sometime on or
10     around 2012/2013 is when the lease for the Hollywood,
11     Maryland, location expired?
12           A       I believe so.
13           Q       Okay.      And then after the lease expired for
14     the Hollywood, Maryland, location, did the office in
15     Maryland move to your personal residence?
16           A       It moved to a office site on my personal
17     residence.       It is separate from my home.
18           Q       Okay.      Can you -- can you explain that?
19           A       I will explain that, yes.
20                   You can open up a door and walk into an
21     office and go right up some stairs and you're in an
22     office.      You do not walk into my home whatsoever at


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           Transcript of Sharon Jean Bell, Designated Representative and Individually
                               Conducted on September 12, 2019                        25


1      all.    You exit those stairs to leave.                     You do not walk
2      into my home at all.
3             Q      Is it a separate attachment or is it --
4             A      It's a thousand square foot office space
5      attached to my home.             It is still attached, but it is
6      separate.
7             Q      And so from on or about 2012/2013, NPX's
8      operations were run from that location?
9             A      Correct.
10            Q      Did NPX have any employees outside of
11     yourself in the State of Maryland?
12            A      Yes.
13            Q      Did NPX have any employees in the State of
14     Maryland between 2011 and 2016?
15            A      Yes.
16            Q      Do you know how many employees during that
17     time?      The time I'm referencing is 2011 to 2016.
18            A      Between -- I would say at least three, maybe
19     four.
20            Q      Okay.      Who were those individuals?
21            A      Myself, Melanie Bowles.
22            Q      What was Ms. Bowles responsible for?


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                                          Wage Claim Form
                                Instructions for Completing the Wage Claim Form



        (Please retain the Instructions and a copy of your Wage Claim Form for your records)

                                             READ CAREFULLY

WHO SHOULD FILE A WAGE CLAIM?
An employee who has worked in Maryland and believes an employer has unlawfully withheld the employee’s
wages, including any bonus, commission, fringe benefits, overtime wages, or any other payment promised for
service, may file a claim for unpaid wages on the attached Wage Claim Form.

Typically, there is a three (3) year statute of limitations under the Maryland Wage & Hour Law (MWHL) and/or
the Maryland Wage Payment & Collection Law (MWCPL) for filing a lawsuit for unpaid wages in a court. (Note
that federal wage laws may have different statutes of limitations for filing claims.) For the Maryland Department
of Labor, Division of Labor and Industry, Employment Standards Service (ESS) to have sufficient time to
investigate a claim for unpaid wages, ESS should receive an employee’s Wage Claim Form, along with any
supporting documents, as soon as possible but in no event later than two (2) years from the date the wages became
due.

Alternatively, instead of filing a wage claim with ESS, an employee may choose to bring a lawsuit against an
employer for unpaid wages under the MWHL and/or the MWPCL with or without the assistance of a private
attorney in a Maryland court. Please note that ESS, the Commissioner of the Division of Labor and Industry
(Commissioner), and the Office of the Attorney General will not participate in any such action.

BEFORE FILING A WAGE CLAIM WITH ESS
Before filing your wage claim with ESS, you must first have asked the employer for your wages and been denied.
To maximize your chances of recovery, you should send a written demand to the employer for payment of any
wages claimed. You should keep a copy of any written demand and obtain proof of receipt by the employer, e.g., a
certified mail receipt, an email receipt, an employer’s written response, etc.

TO FILE YOUR WAGE CLAIM WITH ESS
    You must fill out and return the Wage Claim Form legibly and completely, and must sign the form under
      oath.
       You must provide all known names (including corporate and trade names), addresses, phone numbers, and
        email addresses for your employer.
       You also should attach to the Wage Claim Form the following documents that support your claim, if
        available: An employment contract and/or wage agreement, time sheets and/or a list of dates and hours
        worked, commission statements or other proof that commissions were earned, paystubs, employee
        handbooks, manuals or policy statements, business cards, and correspondence with an employer.
       You must fill out, sign, and return the Wage Claim Authorization.

Note: In order to file a claim, you are NOT required to keep your own time records or have the documents above.
These documents are being requested if you have them because they will help ESS better understand your claim and
improve your chances of recovery.




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WHAT TO EXPECT AFTER FILING YOUR CLAIM
After you file your wage claim with ESS, ESS will investigate your claim. ESS will assign an investigator to your
claim who will contact your employer for information, and, if ESS needs additional information from you, the
investigator also will contact you. If you get additional related documents, please mail or fax the documents directly
to the investigator assigned to your claim. Once ESS completes its investigation, you and your employer will be
notified in writing if the Commissioner will take action on the claim.

HOW THE COMMISSIONER CAN RESOLVE A WAGE CLAIM
Following an investigation of your claim, the Commissioner will determine whether the MWHL and/or the
MWPCL have been violated. The Commissioner may try to resolve your claim in one of three ways:

    1) Informally through mediation;
    2) for claims under $3,000, by issuing an administrative order directing your employer to pay the unpaid
       wages the Commissioner has determined are due to you; or
    3) by asking the Office of the Attorney General (OAG) to bring a lawsuit for unpaid wages on behalf of the
       Commissioner to your use and benefit against your employer in a Maryland court.

Please note: (1) the OAG is not required to file a lawsuit and may decline to accept the case; (2) acceptance of a
wage claim by ESS, the Commissioner, and/or the OAG does not guarantee collection of unpaid wages; and (3)
under the MWCPL, an employee may not knowingly make to a governmental unit or official a false statement with
regard to any investigation or proceeding under the MWPCL with the intent that the government unit or official
consider or otherwise act in connection with the statement. An employee who does so may be charged with a
misdemeanor and, on conviction, is subject to a fine not exceeding $500. In addition, if an employee provides false
or inaccurate information or fails to cooperate, the Commissioner may decline to take any action or may cease
taking action.

Please mail your completed and signed Wage Claim Form, Wage Claim Authorization, and any supporting
documents to:

EMPLOYMENT STANDARDS SERVICE
1100 N. EUTAW STREET, ROOM 607
BALTIMORE, MARYLAND 21201




                                              Department of Labor
                                         Division of Labor and Industry
                                         Employment Standards Service
                                       1100 North Eutaw Street, Room 607
                                             Baltimore, MD 21201
                                     SUMMARY
                                        Telephone JUDGMENT        J.R. 109
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                                                    Wage Claim Form
                                             (A copy of this form and supporting documents will be
                                                     sent to your employer for a response.)


For Office Use Only: Reference                                                         Claim #

SECTION A. Personal Information

Name:
               First                                              Middle                                                  Last

                                              -        -
SSN or ITIN, if available:


Address:
                Street                                            City                              State                               Zip Code

Daytime Telephone:                                     Email Address:
*If you change your address, email address, or telephone number after submitting this form, notify Employment Standards Service (ESS) immediately in
writing. If ESS cannot contact you, your claim will be dismissed.

Driver’s License #:                                                                                         State of Issue:

Date of Birth:                                                                         Gender:  M              F     Other:

*Race (choose all that apply):             American Indian or Alaska Native              Asian          Black/African American
                                           Hispanic or Latino          Native Hawaiian or Other Pacific Islander         White
                                          *This information is collected for statistical purposes only.
 SECTION B. Employment Information
*Please list all known names (including corporate and trade names) addresses and telephone numbers.

Employer Name:                                                                               Telephone:

Employer’s Trade Name (if any):


Employer’s Address:
                                    Street                                   City                       State                      Zip Code

Owner’s Name, if known:                                                                                 Phone:
Owner’s Address, if known:

                                    Street                                   City                       State                      Zip Code

Supervisor’s Name, if known:                                                                            Phone:
Supervisor’s Address, if known:

                                    Street                                   City                       State                      Zip Code




                                                                                                                                                 1

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Supervisor’s and Owner’s License Plate or other identifying information, if known:



Type of Business:                                                                Job Position/Title:
                      (Example: retail, restaurant, construction, etc.)                                (Example: office worker, carpenter, etc.)


First date of work:                       Last date of work:                          Number of days worked each week:
Number of hours worked each day:                              Next scheduled payday is:

Rate of pay: $                        per:        Day          Hour          Week        Month         Year         Commission

Frequency of pay:           Daily                Weekly                   Bi-Weekly         Monthly            Bi-Monthly


I was:       Fired           Laid-Off          Quit         Other           I am still working there           number of days per week.

SECTION C. Eligibility
 Unknown      Yes      No    Questions
                             1.Are you or have you been represented by a private attorney in this matter?

                             If yes, provide the following: Attorney Name:

                             Attorney Address and Phone:
                             2. Have you filed a claim for these unpaid wages elsewhere against your employer/former employer?

                             3. Was the work for which you are claiming wages performed in Maryland?
                             If yes, what is the precise address where the work was performed?
                             If no, in what state(s) was the work performed?
                             4. Are you a federal, state, or local government employee?
                             Maryland’s Labor & Employment laws do not cover government employees.
                             Contact the U.S. Dept. of Labor at 1-866-4US-WAGE for assistance.
                             5. Was your work performed as a union member?
                             Union members must exhaust all union remedies before filing a claim with ESS. Attach documentation
                             showing all union remedies have been exhausted without success.
                             6. Is your employer/former employer still in business?

                             7. Has your employer/former employer filed for bankruptcy?

                             8. Are you a shareholder, officer or director of the company that employed you?

                             9. Do you have any property belonging to your employer? If yes, identify the property you still have:

                             10. Did your employer/former employer deduct FICA and federal and state taxes from your paycheck?

                             11. Did you receive a paystub from your employer/former employer? If yes, attach copies of your
                             paystubs for the last 30 days.
                             12. Do you have any written agreement(s) with the employer/former employer? If yes, attach any
                             agreements.
                             13. Have you signed any document allowing your employer/former employer to deduct money from your
                             pay? If yes, attach a copy of any documents.



                                                                                                                                        2

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SECTION D. TYPE OF WAGES OWED
 What Type of Wages Are You Claiming?                     Check all that apply         Instruction
 Hourly Wages                                                                          Fill out Section E
 Salary                                                                                Fill out Section E
 Minimum Wage                                                                          Fill out Section E
 Overtime                                                                              Fill out Section E
 Commission                                                                            Fill out Section F
 Bonus                                                                                 Fill out Section F
 Piece Rate or Flat Rate                                                               Fill out Section F
 Unauthorized Deduction                                                                Fill out Section G
 Vacation                                                                              Fill out Section H
 Sick Leave                                                                            Fill out Section H
 Paid Time Off (PTO)                                                                   Fill out Section H
 Holiday                                                                               Fill out Section H
 Personal Leave                                                                        Fill out Section H
 Mileage                                                                               Fill out Section I
 Business Expenses                                                                     Fill out Section J
 Other                                                                                 Attach written description

SECTION E: LIST ALL DATES AND HOURS (MONTH/DAY/YEAR) WORKED FOR WHICH YOU WERE NOT
PAID.

                       Mon.         Tues   Wed   Thurs    Fri       Sat          Sun      Total Hours      Total Wages
                       (Mo./Day/Y                                                          Worked          Earned but
                       ear)                                                                                 Not Paid
            Date:                                                                                           $
  Week
   1        Hours:                                                                                          $
            Date:                                                                                           $
  Week
   2        Hours:                                                                                          $
            Date:                                                                                           $
  Week
   3        Hours:                                                                                          $
            Date:                                                                                           $
  Week
   4        Hours:                                                                                          $
Use additional paper if needed.

                                                         SECTION E SUBTOTAL:                $




                                                                                                                    3

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PLEASE READ AND SIGN THE CERTIFICATION AT THE BOTTOM (This page and the Wage Claim
Authorization following this page must be signed)

I. ADDITIONAL INFORMATION: If you have any additional information about your claim, provide it below. Use
additional paper if needed.




I HEREBY CERTIFY, UNDER THE PENALTIES OF PERJURY, THAT ALL OF THE STATEMENTS I HAVE
MADE ON THIS WAGE CLAIM FORM ARE TRUE.


Signature: __________________________________________________ Date: _____________________
(Original signature required, no photocopied signature accepted)




                                                                                                            6

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                                     WAGE CLAIM AUTHORIZATION

I understand that once my claim is investigated, the Commissioner will determine whether there has been an
apparent violation of the Maryland Wage and Hour Law (MWHL) and/or the Maryland Wage Payment and
Collection Law (MWPCL) by my employer/former employer (employer). If the Commissioner determines the
MWHL and/or the MWPCL have been violated, I consent to the Commissioner resolving my wage claim:

    1) Informally through mediation;
    2) if my claim is less than $3,000, by issuing an administrative order directing my employer to pay my
       unpaid wages under the MWPCL; or
    3) by asking the Office of the Attorney General (OAG) to file a lawsuit on behalf of the Commissioner to
       my use and benefit in a Maryland court of proper jurisdiction under the MWPCL. I understand the OAG
       is not required to file a lawsuit and may decline to accept the case. I also understand that acceptance of
       my claim by ESS, the Commissioner, and the OAG does not guarantee collection of my unpaid wages.

I understand that any order issued by the Commissioner or any lawsuit filed by the OAG on behalf of the
Commissioner to my use and benefit is limited to collection of my unpaid wages under the MWHL and/or the
MWPCL. I also understand that if my employer files an action against me in any court or other forum, neither
the Commissioner nor the OAG will represent me and I will have to retain a private lawyer or represent myself.

I understand I have the right to file a lawsuit against my employer for unpaid wages under the MWHL and/or
the MWPCL (with or without the assistance of a private lawyer) in a Maryland court without first filing a wage
claim with ESS. I understand that if, after I file my wage claim with ESS, I retain a private lawyer to assist me
with my wage claim then ESS, the Commissioner, and/or the OAG will stop all actions on my behalf and close
my case.

                              Cooperation with ESS, Commissioner, and OAG

I agree to cooperate with ESS, the Commissioner, and the OAG in their investigation of my wage claim and
during all phases of any order issued by the Commissioner or any lawsuit filed by the OAG. Therefore, I agree
to promptly return phone calls, respond to letters or emails, and, if required, to participate in any settlement
conference, mediation, hearing, and/or trial related to my wage claim. I also agree to notify ESS, the
Commissioner, and/or the OAG immediately if my address, email, or telephone number changes, if I receive
payment in connection with my wage claim, and/or if I retain a private lawyer.

If I do not cooperate fully with ESS, the Commissioner, and/or the OAG, I hereby authorize ESS, the
Commissioner and/or the OAG to take whatever action they consider appropriate, which may include stopping
an investigation and closing my claim, dismissing an order, or withdrawing from and/or dismissing a lawsuit. If
the Commissioner and the OAG withdraw from a lawsuit, I agree that they will not be liable for any added costs
associated with pursuing the lawsuit. In the event a lawsuit filed on my behalf is dismissed, I understand I may
not be able to file a new lawsuit in my own name (with or without the assistance of a private lawyer) if the
statute of limitations has run on my claim or if the court’s dismissal of the case is with prejudice (dismissed
“with prejudice” means that you cannot refile the case but you may be able to appeal the dismissal).




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                                           Settlement of Wage Claim

I agree that ESS, the Commissioner, and/or the OAG may settle my wage claim for the amount claimed on my
Wage Claim Form, the amount determined to be due and owing to me in any order issued by the Commissioner,
or the amount claimed due to me in any lawsuit filed on my behalf, without prior notice to me or my prior
approval. I understand any settlement of my claim may not include additional damages a court may award at its
discretion under the MWPCL. I understand I will be notified of any proposed settlement that would be a
compromise of the amount of my claim. I agree that if I do not approve a settlement that would be a compromise
of my claim that is recommended by ESS, the Commissioner, and/or the OAG, then that ESS, the
Commissioner, or the OAG may close and/or withdraw from the case (subject to the applicable Rules of Court if
a lawsuit has been filed). I understand and agree that any determination of whether or not to appeal an
unfavorable decision by the Office of Administrative Hearings or any Maryland court regarding my wage claim
is solely within the Commissioner’s and/or the OAG’s discretion.

                           Collection of Checks or Money Orders for Wage Claim

I hereby authorize ESS, the Commissioner, or the OAG to receive, endorse my name on, and deposit into the
Commissioner’s account, or other appropriate account, any checks or money orders made out to me as payment
on my wage claim. I understand that, once cleared, I will then be issued a check from the state of Maryland
representing the amount deposited. I understand, however, that the amount may be reduced by any outstanding
state debt that I owe, such as past due child support or state income taxes, etc. I also understand that I should
contact a tax advisor about reporting any monies I receive to the appropriate taxing authorities. I understand that
I am not responsible for the payment of any expenses incurred by the Commissioner in pursuing an action filed
on my behalf to collect my wages, unless the expenses were: (a) approved by me in advance, or (b) mandated by
statute or rule of court. If the Commissioner and OAG withdraw from my case, I understand I will be
responsible for any added costs associated with pursuing the lawsuit. I also understand that any judgment
entered in my favor by a court may be referred to the Maryland Department of Budget and Management’s
Central Collection Unit for collection.




                                                                  ___________________________________
Name of Wage Claimant (Print Legibly)                                    Signature of Wage Claimant


Date


Address                                                   City                     State            Zip Code


Telephone Number(s)                                               Email Address(es)



Draft 4/18




                                    SUMMARY JUDGMENT J.R. 117
